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 1                                                           The Honorable Robert J. Bryan

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 8
                             UNITED STATES DISTRICT COURT
 9                          WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
10
     CHAO CHEN, individually and on behalf of
11
     all those similarly situated,              No. 17-cv-05769-RJB
12
                                   Plaintiff,   PLAINTIFF’S OPPOSITION TO
13                                              DEFENDANT’S MOTION T O
            v.                                  DISMISS
14

15   THE GEO GROUP, INC., a Florida
     corporation,
16
                                 Defendant.
17

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     PLTF.’S OPP. TO DEF.’S MOT. TO DISMISS       SCHROETER GOLDMARK & BENDER
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 1
                                        I.   INTRODUCTION
 2
            The Minimum Wage Act (“MWA”) protects workers in Washington unless and until
 3
     the Washington Legislature or Congress say otherwise. The law contains no exception for
 4
     detainees put to work in private for-profit facilities, where they provide such basic functions
 5
     as cooking and cleaning. Nor does it exempt coverage for undocumented workers. As for
 6
     Congress, it has done nothing to expressly preempt Washington’s wage laws and any award
 7

 8   in Plaintiff Chao Chen’s favor does not “sanction” Defendant The GEO Group, Inc. (“GEO”)

 9   for employing persons of undetermined immigration status, it provides a remedy in the form

10   of backpay for GEO’s minimum wage violations. Likewise, Congress’ regulation in the field

11   of immigration detention does nothing to preempt local wage laws any more than it would
12   somehow exempt GEO from complying with local fire codes. GEO’s strained analogue to
13   preempted federal wage laws considered by courts in other jurisdictions construing statutory
14
     exemptions that do not exist here does nothing to assist the Court in determining the MWA
15
     claims before it. Of course, the mere fact that compliance will hurt GEO’s bottom line does
16
     not carry the day and indeed, GEO’s contract requires it. At the very least, Plaintiff Chao
17
     Chen states a claim for relief under the MWA and he respectfully requests that the Court
18
     deny GEO’s motion.
19
                                  II.    STATEMENT OF FACTS
20
            Despite acknowledging that its Rule 12(b)(6) motion “tests the legal sufficiency of
21
     [Chen’s] claim,” ECF No. 8 (“Mot.”) at 4, GEO seizes the opportunity to impugn Mr. Chen’s
22
     character and pad the record with other extraneous “facts.” While none of GEO’s material is
23

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 1
     germane to the issues before the Court, to the extent the Court considers it, it should also
 2
     consider the following:1
 3
                First, contrary to GEO’s assertions, Mr. Chen and members of the putative class are
 4
     not all “unauthorized aliens” ineligible for work. Mot. at 10. Their status is, at best,
 5
     undetermined. For example, Mr. Chen is a lawful permanent resident, ECF No. 1 (“Compl.”)
 6

 7   at ¶3.1, and as such, is eligible to work in the United States unless and until a final order of

 8   removal is issued by the Board of Immigration Appeals. See 8 C.F.R. § 274a.12(a)(1), 8

 9   C.F.R. § 1001.1(p). Other detainees in the putative class are likewise eligible to seek work

10   authorization, including any asylum seekers, Deferred Action for Childhood Arrivals
11   (“DACA” or “Dreamers”), and those on Temporary Protected Status (“TPS”), or with
12   pending Cancellation of Removal or Adjustment of Status applications. See 8 C.F.R.
13
     §§ 274a.12(c)(8), (c)(9), (c)(10), (c)(19). While the immigration status of workers does not
14
     matter for purposes of minimum wage protection under Washington law, such inaccurate
15
     statements of fact cannot go unnoticed.
16
                Second, GEO alleges that it meets or has met the basic needs of the putative class,
17
     which it contends defeats an employment relationship. If such inquiry were relevant to
18
     determining employment status under Washington law (it is not), such assertion cannot stand
19

20   on GEO’s word alone. To the extent the parties conduct discovery on the matter, Plaintiff

21   would show that many detainees rely upon the $1 a day program to buy food, personal

22   hygiene items, and medical supplies, among other things. Moreover, many detainees rely

23   upon their meager earnings from the program to support their families and pay legal fees—
24   sometimes for years on end while they await release.
25   1
         Plaintiff will establish these facts as the litigation progresses, and offers these factual allegations now by way
26       of background only. To the extent the Court wishes to consider these facts as part of the formal record on
         Defendant’s 12(b)(6) motion, Plaintiff will amend his complaint to include these allegations.



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 1                                       III.   ARGUMENT

 2   A.     STANDARD OF REVIEW.
 3          On review of a defendant’s 12(b)(6) motion, the Court’s task “is necessarily a limited
 4   one,” concerned with “only whether the complaint states a claim upon which relief can be
 5   granted,” and not whether the plaintiff will ultimately prevail on the merits. Mohamed v.
 6
     Jeppesen Dataplan, Inc., 614 F.3d 1070, 1100 (9th Cir. 2010) (internal quotations omitted).
 7
     In making this determination, the Court must accept all well-pleaded allegations of material
 8
     fact as true, and draw all reasonable inferences in favor of the plaintiff. Wyler Summit P’ship
 9
     v. Turner Broad. Sys., Inc., 135 F.3d 658, 661 (9th Cir. 1998). A plaintiff need not plead a
10
     specific legal theory in his complaint, so long as the defendant “receives notice as to what is
11
     at issue in the lawsuit.” Elec. Const. & Maint. Co., Inc. v. Maeda Pac. Corp., 764 F.2d 619,
12

13   622 (9th Cir. 1985). “[C]ourt[s] should be especially reluctant to dismiss on the basis of the

14   pleadings when the asserted theory of liability is novel or extreme, since it is important that

15   new legal theories be explored and assayed in the light of actual facts rather than a pleader’s

16   suppositions.” Id. at 623. Thus, the Court must deny a motion to dismiss where, as here, the
17   complaint contains “sufficient factual matter, accepted as true, to ‘state a claim to relief that
18   is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp.
19
     v. Twombly, 550 U.S. 544, 570 (2007)).
20
     B.     FEDERAL LAW DOES NOT PREEMPT THE WASHINGTON MINIMUM
21          WAGE ACT.
22          Nothing in federal law preempts GEO’s compliance with the MWA. To the contrary,
23   the language of the Immigration and Customs Enforcement (“ICE”) contract requires it.
24   “Federal law preempts state law if: (1) Congress expressly so states, (2) Congress enacts
25
     comprehensive laws that leave no room for additional state regulation, or (3) state law
26
     actually conflicts with federal law.” Gruver v. Lesman Fisheries, Inc., 409 F. Supp. 2d 1263,


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     1265 (W.D. Wash. 2005) (citing Pacific Merchant Shipping Ass’n v. Aubry, 918 F.2d 1409,
 2
     1415 (9th Cir.1990), cert. denied, 504 U.S. 979 (1992)). Preemption is an affirmative defense
 3
     for which the party raising it bears the burden of proof. Bruesewitz v. Wyeth, 562 U.S. 223,
 4
     251 n.2 (2011). “Parties seeking to invalidate a state law based on preemption ‘bear the
 5
     considerable burden of overcoming the starting presumption that Congress does not intend to
 6

 7   supplant state law.’” Stengel v. Medtronic, 704 F.3d 1224, 1227-28 (9th Cir. 2013) (en banc)

 8   (quoting De Buono v. NYSA-ILA Med. & Clinical Servs. Fund, 520 U.S. 806, 814 (1997)).

 9   “Federalism, central to the constitutional design, adopts the principle that both the National

10   and State Governments have elements of sovereignty the other is bound to respect.” Arizona
11   v. United States, 567 U.S. 387, 399 (2012). Under this design, the historic police powers of
12   the States are not superseded by federal law unless that was the clear and manifest purpose of
13
     Congress. Id. at 400 (quoting Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230 (1947).
14
            The presumption against preemption is especially strong in areas of traditional state
15
     regulation. See Wyeth v. Levine, 555 U.S. 555, 565 (2009). Wages are a traditional subject of
16
     state police powers. WSB Electric, Inc. v. Curry, 88 F.3d 788, 791 (9th Cir. 1996). Congress
17
     has never enacted a comprehensive legislative scheme governing labor law. Allis-Chalmers
18
     Corp. v. Lueck, 471 U.S. 202, 208 (1985). Consequently, “[p]reemption of employment
19

20   standards within the traditional power of the State should not be lightly inferred.” Hawaiian

21   Airlines, Inc. v. Norris, 512 U.S. 246, 252 (1994) (internal quotation omitted).

22          GEO cannot overcome the strong presumption against preemption in this case.

23   Indeed, GEO fails to even acknowledge that a presumption exists. Instead, the Corporation
24   attempts to turn the analysis on its head by consistently suggesting that the absence of a
25   Congressional detainee minimum wage serves as the basis for preemption. See Mot. at 9, 12.
26
     Accepting GEO’s preemption theories requires ignoring both the presumption against


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 1
     preemption of traditional state police powers and the requirement of a clear intent on the part
 2
     of Congress to preempt. GEO’s motion should therefore be denied.
 3
               1.     IRCA does not expressly preempt Washington’s Minimum Wage Act.
 4
               To evaluate GEO’s contention that the Immigration Reform and Control Act of 1986
 5
     (“IRCA”) expressly preempts the MWA, the Court must first “identify the domain expressly
 6

 7   preempted by that language.” Air Conditioning & Refrigeration Inst. v. Energy Res.

 8   Conservation & Dev. Comm’n, 410 F.3d 492, 495 (9th Cir. 2005). In analyzing whether

 9   IRCA’s preemption clause displaces the MWA, the “focus [is] on the plain wording of the

10   clause, which necessarily contains the best evidence of Congress’ preemptive intent.”
11   Chamber of Commerce v. Whiting, 563 U.S. 582, 589 (2011). “[W]hen the text of a
12   preemption clause is susceptible of more than one plausible reading, courts ordinarily ‘accept
13
     the reading that disfavors pre-emption.’” Bates v. Dow Agrosciences LLC, 544 U.S. 431, 449
14
     (2005).
15
               A plain language reading of IRCA’s preemption clause reveals that Congress did not
16
     intend to preempt the MWA. 8 U.S.C. § 1324a(h)(2). The statutory text preempts state or
17
     local “civil or criminal sanctions” against employers for engaging in conduct prohibited by
18
     IRCA—namely, hiring, recruiting, or referring for employment unauthorized workers. Id.
19

20   (emphasis added). IRCA left “sanctions” undefined. But the term’s plain meaning signifies a

21   “penalty or coercive measure” leveled by a government to intervene or punish a specific

22   regulatory or statutory violation. See Balbuena v. IDR Realty, LLC, 845 N.E.2d 1246, 1255-

23   56 (N.Y. Ct. App. 2006) (citing Black’s Law Dictionary 1368 (8th ed.)).
24             Because employing, recruiting, or referring undocumented immigrants for
25   employment is the act being punished, i.e., “sanctioned” by IRCA, 8 U.S.C.
26
     § 1324a(a)(1)(A), only state laws that seek to impose civil or criminal sanctions for the same


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 1
     conduct fall within IRCA’s express preemption clause. IRCA “is silent, however, as to its
 2
     preemptive effect on any other state or local laws.” Affordable Housing Found., Inc. v. Silva,
 3
     469 F.3d 219, 249 (2d Cir. 2006) (holding IRCA does not preempt recovery by
 4
     undocumented workers under New York scaffolding law).
 5
                The MWA carries neither civil nor criminal sanctions relating to the employment of
 6

 7   undocumented immigrants. RCW Ch. 49.46. In fact, it provides a remedy for employees,

 8   without regard to immigration status, to recover monetary damages from employers who fail

 9   to pay the State’s minimum wage. RCW 49.46.090. See also Mendoza v. Zirkle Fruit Co.,

10   No. CS-00-3024-FVS, 2000 WL 33225470, *11 (E.D. Wash. Sept. 27, 2000) (finding
11   IRCA’s ‘civil or criminal sanctions’ provision does not apply to claims for civil money
12   damages), rev’d on other grounds, 301 F.3d 1163 (9th Cir. 2002). Because the MWA is not a
13
     “sanction,” the plain language of IRCA’s express preemption clause does apply. See Madeira
14
     v. Affordable Housing Foundation, Inc., 469 F.3d 219, 240 (2d Cir. 2006) (“Compensatory
15
     damages for personal injury do not reasonably equate to sanctions.”); Grocers Supply, Inc. v.
16
     Cabello, 390 S.W.3d 707, 715 (Tex. App. 2012) (lost wages are not sanctions). In other
17
     words, if Mr. Chen is successful in this case, the finder of fact will not “sanction” GEO, it
18
     will award back pay to class members.
19

20              IRCA’s language, context, and purpose present no evidence that Congress intended

21   the preemption clause to supersede state wage and hour statutes like the MWA. See H.R.

22   Rep. No. 99-682(I), at 58 (1986) (“penalties contained in this legislation are intended to

23   specifically preempt any state or local laws providing civil fines and/or criminal sanctions on
24   the hiring, recruitment, or referral of undocumented [noncitizens]”)2; id. at 99-682(II) at 8-9
25
26   2
         See Flores v. United States Citizenship & Immigration Servs., 718 F.3d 548, 551 n.1 (6th Cir. 2013).



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 1
     (nothing in IRCA is intended to “limit the powers of State or Federal labor standards
 2
     agencies ... to remedy unfair practices committed against undocumented employees”).
 3
     Indeed, interpreting IRCA to preempt state minimum wage laws would undermine IRCA’s
 4
     goals, because employers would have an incentive to employ undocumented workers at
 5
     subminimum wages knowing that they would not be held liable to pay the difference in
 6

 7   wages if they were caught.

 8          GEO fails to cite, and Plaintiff has yet to locate, a single decision in which a court

 9   held IRCA expressly preempts state wage laws. Cf. Coma Corp. v. Kansas Dep’t. of Labor,

10   154 P.3d 1080, 1083-86 (Kan. 2007) (holding IRCA does not preempt the Kansas Wage
11   Payment Act); Reyes v. Van Elk, Ltd., 148 Cal.App.4th 604, 616 (2007) (same as to
12   California’s prevailing wage law); Pineda v. Kel-Tech Const., Inc., 832 N.Y.S.2d 386, 393
13
     (N.Y. Sup. Ct. 2007) (same as to New York prevailing wage law). Indeed, with respect to
14
     both state wage laws and labor laws more generally, courts have consistently and
15
     overwhelmingly reached the opposite conclusion. E.g., Salas v. Sierra Chem. Co., 327 P.3d
16
     797, 805-06 (Cal. 2014) (holding IRCA does preempt—expressly or impliedly—California
17
     law applying labor protections to all persons regardless of immigration status); Abel Verdon
18
     Const. v. Rivera, 348 S.W.3d 749 (Ky. 2011) (same as to worker’s compensation law);
19

20   Asylum Co. v. D.C. Dep’t of Emp. Servs., 10 A.3d 619, 630-34 (D.C. 2010) (same); Rosa v.

21   Partners in Progress, Inc., 868 A.2d 994, 1000, 1002 (N.H. 2005) (same); Correa v.

22   Waymouth Farms, Inc., 664 N.W.2d 324, 329 (Minn. 2003) (same); Dowling v. Slotnik, 712

23   A.2d 396, 403 (Conn. 1998) (same). In light of the plain language and intent of Section
24   1324a(h)(2), and the absence of any authority to the contrary, GEO’s express preemption
25   defense fails.
26



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 1          2.      The Washington Minimum Wage Act is not field preempted.

 2          GEO’s field preemption claim also falls short because there is no comprehensive

 3   federal scheme governing immigrant detainee labor that displaces the MWA. To the contrary,

 4   the federal agency action upon with GEO relies lacks any of the prerequisites for regulatory
 5   preemption. Moreover, the language of GEO’s contract with ICE specifically contemplates
 6   state and local law will govern its performance, ruling out an exclusive federal scheme.
 7          State law is field preempted when it regulates conduct in a field Congress intended
 8   the federal government to occupy exclusively. English v. Gen. Elec. Co., 496 U.S. 72, 79
 9   (1990). Such intent can be inferred from a “scheme of federal regulation . . . so pervasive as
10
     to make reasonable the inference that Congress left no room for the States to supplement it,”
11
     or where an act of Congress “touch[es] a field in which the federal interest is so dominant
12
     that the federal system will be assumed to preclude enforcement of state laws on the same
13
     subject.” Rice, 331 U.S. at 230. However, “merely because the federal provisions [a]re
14
     sufficiently comprehensive to meet the need identified by Congress d[oes] not mean that
15
     States and localities [a]re barred from identifying additional needs or imposing further
16
     requirements in the field.” Hillsborough Cty., Fla. v. Automated Med. Lab., Inc., 471 U.S.
17
     707, 717 (1985). “To infer pre-emption whenever an agency deals with a problem
18
     comprehensively is virtually tantamount to saying that whenever a federal agency decides to
19
     step into a field, its regulations will be exclusive.” Id. “Such a rule, of course, would be
20
     inconsistent with the federal-state balance embodied in our Supremacy Clause
21
     jurisprudence.” Id.
22

23          In the absence of an express preemption statute, “an agency regulation with the force

24   of law can preempt conflicting state requirements.” Wyeth, 555 U.S. at 576. An agency’s

25
26



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 1
     informal claim to preemption will be analyzed according to “its thoroughness, consistency,
 2
     and persuasiveness.” Id. at 577.3
 3
                Federal agencies must satisfy a host of specific requirements to formulate policy with
 4
     federalism implications. See Executive Order 13132, Federalism, 64 Fed. Reg. 43255 (Aug.
 5
     4, 1999).4 Agencies must consult with State and local officials anytime they seek to preempt
 6

 7   state law by regulation. Id. at 43257, § 4(d). They must certify compliance with federalism

 8   consultation requirements prior to submitting any proposed regulation for review. Id. at

 9   43258. And they must discern “clear evidence that Congress intended preemption of State

10   law.” Id. at 43257.
11              In Arizona v. United States, the Court described the elements of a federal scheme so
12   pervasive as to yield the conclusion Congress occupied the field of noncitizen registration.
13
     567 U.S. at 401. There, federal statutory directives “provided a full set of standards
14
     governing alien registration, including the punishment for non-compliance.” Id. These
15
     standards were “designed as a harmonious whole.” Id. A “single sovereign” is responsible
16
     under federal law for carrying out the functions of the field of noncitizen registration. Id. at
17
     402. This level of cohesion at the federal statutory level “reflects a congressional decision to
18
     foreclose any state regulation in the area, even if it is parallel to federal standards.” Id.
19

20              Unlike the “harmonious whole” governing noncitizen registration, GEO proffers a

21   patchwork of tangentially related statutes, agency interpretations, policy guidelines, and

22   contract clauses to claim Congress intended to occupy “the field of immigration detention,

23   3
         Though Wyeth is an obstacle preemption case, “the categories of preemption are not rigidly distinct, and what
         might be understood as an obstacle preemption argument might instead be understood as a field preemption
24       argument.” Atay v. County of Maui, 842 F.3d 688, 704 n.10 (9th Cir. 2016) (quotation omitted).
     4
25       E.O. 13132 expanded upon a prior Executive Order issued by President Reagan—the first of its kind—
         requiring agencies to strictly limit federal intrusion upon the traditional powers of the states and conduct
26       Federalism Assessments prior to finalizing federal policymaking. Executive Order 12612, Federalism, 52 Fed.
         Reg. 41685 (Oct. 26, 1987).



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 1
     including payment of detainees.” Mot. at 11. The hodgepodge of federal authority GEO
 2
     throws against the wall bears none of the hallmarks of field preemption set forth in Arizona.5
 3
                Though it relies upon purportedly “delegated authority” and “broad discretion” of
 4
     federal agencies to support its field preemption claim, GEO offers no evidence that the
 5
     Department of Homeland Security (“DHS”) ever fulfilled any of the preemption assessment
 6

 7   requirements of E.O. 13132. The Court therefore has no affirmative statement by the agency

 8   against which it could judge the “thoroughness, consistency, and persuasiveness” of a field

 9   preemption claim. Cf. Wyeth, 555 U.S. at 557. GEO provides no evidence that DHS views

10   8 U.S.C. § 1555(d), Congressional appropriations, the Performance Based National
11   Detention Standards, or the Northwest Detention Center (“NWDC”) contract as preemptive
12   of State law. Given the commands of E.O. 13132 and E.O. 12612, that evidence should
13
     already exist if the agency truly believed Congress intended federal law to occupy the field of
14
     detainee labor.
15
                All available evidence of the agency’s actions to date points in the opposite direction.
16
     ICE requires Voluntary Work Program participants to be paid at “at least $1 per day.”
17
     Voluntary Work Program 5.8.V.K, ICE Performance-Based National Detention Standards at
18
     407 (Dec. 2016).6 This rate constitutes a floor, not a ceiling. Id. The PBNDS allows
19

20   contractors to pay detainees more, and GEO does so at other ICE detention facilities.7

21

22   5
         Among the other items cited by GEO are the pre-1980 Congressional appropriations bills authorizing
         allowances for detainees. However, Congress last passed such an appropriation almost 40 years ago, before
23       any privately-run, for-profit federal detention facilities even existed. See GEO Group History Timeline,
         https://www.geogroup.com/history_timeline (last visited Oct. 30, 2017); The CCA Story: Our Company
24       History, http://www.cca.com/our-history (last visited Oct. 30, 2017).
     6
         Available at https://www.ice.gov/doclib/detention-standards/2011/5-8.pdf (last visited Oct. 29, 2017).
25   7
         See, e.g., Molly Hennessy-Fiske, “Paid $1 to $3 a day, unauthorized immigrants keep family detention centers
26       running,” Los Angeles Times (Aug. 3, 2015) available at http://www.latimes.com/nation/immigration/la-na-
         detention-immigration-workers-20150803-story.html (last visited Oct. 29, 2017).



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 1
                Similarly, GEO’s contract with ICE is inconsistent with the existence of a federal
 2
     regulatory scheme that is “so pervasive as to make reasonable the inference that Congress left
 3
     no room for the States to supplement it.” Rice, 330 U.S. at 230. The contract provides:
 4
                Ambiguities
 5              All services must comply with the Performance Work Statement (PWS)
                and all applicable federal, state, and local laws and standards. Should a
 6              conflict exist between any of these standards, the most stringent shall
 7              apply.
     NWDC Contract, HSCEDM-15-D-00015 at 52 (emphasis added). Among the “constraints”
 8
 9   the contract says “comprise the statutory, regulatory, policy, and operation considerations

10   that will impact the contractor” are “applicable federal, state and local labor laws and codes.”

11   Id. at 43, 44. “These constraints may change over time; the contractor is expected to be

12   knowledgeable of any changes to the constraints and perform in accordance with the most
13   current version of the constraints.” Id. Taken together, the PBNDS and NWDC contract
14   provide no evidence of a “congressional decision to foreclose any state regulation in the
15
     area.” Arizona, 567 U.S. at 402.8
16
                3.       The Minimum Wage Act is not conflict preempted.
17
                Because Plaintiff’s recovery from GEO does not stand as an actual obstacle to the full
18
     execution of any purpose or objective of Congress, the MWA is not conflict preempted.
19

20   Obstacle preemption occurs only in “those situations where conflicts necessarily arise.”

21   Goldstein v. California, 412 U.S. 546, 554 (1973). Tension between federal and state law is

22   not enough to establish conflict preemption.” Incalza v. Fendi N. Am., Inc., 479 F.3d 1005,

23

24
     8
25       Indeed, if GEO’s field preemption argument were accepted, it would free the GEO from compliance with any
         state or local laws, including those governing such subjects as zoning, sanitation, or health and safety. This
26       result would be contrary to the express language of the contract and unsupported by any evidence of the
         requisite Congressional intent.



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 1
     1010 (9th Cir. 2007). Nor can a “hypothetical conflict” serve as a sufficient basis for
 2
     preemption. Total TV v. Palmer Commc'ns., Inc., 69 F.3d 298, 304 (9th Cir. 1995).
 3
                IRCA does not conflict-preempt the MWA. An employer’s failure to comply with
 4
     IRCA’s employment verification requirements does not trigger preemption of a worker’s
 5

 6   recovery under state wage and hour laws—especially where the remedy sought is purely

 7   retrospective. See, e.g., Incalza, 479 F.3d at 1010; Affordable Housing Found., Inc., 469 F.3d

 8   at 249; Salas, 327 P.3d at 805-06; Coma Corp., 154 P.3d at 1083-0; cf. Hoffman Plastic

 9   Compounds v. NLRB, 353 U.S. 137 (2002) (denying reinstatement remedy under National
10   Labor Relations Act). Moreover, GEO can comply with IRCA and the MWA while still
11   administering the Voluntary Work Program. That is because a significant portion of
12
     detainees at the NWDC are lawful permanent residents, like Mr. Chen, or otherwise hold
13
     employment authorization.9 The VWP sets no minimum number of participants. PBNDS §
14
     5.8. Thus, GEO could comply with IRCA, administer the VWP, and abide by the MWA. Its
15
     claim that application of the MWA would be “contrary to federal law” is a “hypothetical
16
     conflict,” Total TV, 69 F.3d 304, that will not “necessarily arise.” Goldstein, 412 U.S. 554.
17
                Nor would paying Mr. Chen and detainees in the putative class minimum wage
18

19   frustrate any other federal purpose. The goal of the VWP is to ensure detainees are paid “at

20   least $1 per day.” The goal of IRCA is to ensure employers do not depress wages and exploit

21   vulnerable workers by skirting the employment verification requirements. The language of

22   the federal contract requires GEO to perform under the “most stringent” legal regime, to the
23   extent the federal, state, and local laws conflict. All of these purposes are served, rather than
24
     9
25       As discussed above, many detainees hold or are eligible to seek employment authorization either because they
         are lawful permanent residents, like Mr. Chen, or are asylum seekers, Dreamers, and the like. Their eligibility
26       for work authorization continues during “any period when an administrative appeal or judicial review of an
         application or petition is pending.” 8 C.F.R. § 274a.12(c).



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 1
     frustrated, by fully compensating detainees in accordance with “all applicable federal, state,
 2
     and local laws,” as required by GEO’s contract.
 3
              The remainder of GEO’s obstacle preemption defense would, if accepted, yield
 4
     profoundly troubling implications for those currently in GEO’s care, its government partners,
 5

 6   and the taxpayers who foot the bill. The Corporation claims that complying with the MWA

 7   will result in the company having to charge the government more for the services it performs.

 8   Mot. at 16. The key assumption nestled within this claim is an unavoidable inelasticity of

 9   demand by GEO for “volunteer” detainee labor. GEO allows neither the possibility of
10   reducing the ranks of its captive workforce nor reducing the number of hours each detainee
11   works.
12
              Contrary to GEO’s claims, the “structure of federal government contracting for
13
     detention facility services” should not have any effect on GEO’s demand for detainee
14
     volunteer labor. That is because the Performance Work Statement for the NWDC provides:
15
     “Detainees shall not be used to perform the responsibilities or duties of an employee of the
16
     Contractor.” Contract at 82. Among these employee responsibilities are to keep the facility
17
     “clean and vermin/pest free,” “launder and change linens,” and “provide detainees with
18

19   nutritious, adequately varied meals, prepared in a sanitary manner while identifying,

20   developing, and managing resources to meet the operation needs of the food service

21   program.” Id. at 57, 58, 83. The Contract requires that in implementing the VWP, GEO

22   “must comply with all applicable laws and regulations.” Id. Finally, GEO agreed to “hold
23   harmless and indemnify the Government against any and all liability claims, and cost of
24   whatsoever kind . . . .” Id. at 101-02.
25
              What GEO has told the Court, in essence, is that it must pay the captive workforce to
26
     keep NWDC running. And if NWDC will not run without detainee labor, that fact raises


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 1
     serious questions as to whether detainee labor has displaced the work to be performed by
 2
     employees and whether all captive labor in the facility is performed voluntarily.
 3
                 In essence, GEO claims that the MWA is conflict preempted because the cost of
 4
     complying with the law would be too high. Mot. at 16 (citing Boyle v. United Technologies
 5
     Corp., 487 U.S. 500 (1988)).10 Though the Corporation identifies the sole federal interest as
 6

 7   arranging for appropriate places of detention, Mot. at 15 n.69, other, more directly relevant

 8   provisions of federal law focus directly on detainees’ well-being. The key federal purpose at

 9   stake in immigration detention contracts is to ensure “acceptable conditions of confinement

10   and detention services.” 8 U.S.C. § 1103(a)(11)(B). The payments the federal government
11   makes to detention contractors are, by statute, “for necessary clothing, medical care,
12   necessary guard hire, and the housing, care, and security of persons detained by the Service
13
     pursuant to Federal law under an agreement with a State or political subdivision of a State.” 8
14
     U.S.C. § 1103(a)(11)(A). Ensuring the profit margin of a multinational private prison
15
     corporation is not a Congressional objective of immigration detention.
16
                 Compliance costs associated with paying Mr. Chen and the putative class of
17
     immigration detainees minimum wage may reduce GEO’s profit margin on the NWDC
18
     contract. Indeed, it may require the Corporation to seek modification of its contract with ICE
19

20   with higher price terms, as it has done successfully no fewer than eight (8) times since taking

21   over the NWDC contract in the mid-2000s. And perhaps the federal government, newly able

22   to introduce open competition into the contracting process, will engage a different entity that

23
     10
24         The company’s reliance on Boyle is misplaced. Boyle is a government contractor defense case—not a
          preemption case—and GEO has not raised a government contractor defense. Compare Menocal v. The GEO
25        Group, Inc., 113 F. Supp. 3d 1125, 1134 (D. Colo. 2015) (rejecting GEO’s government contractor defense).
          The contractor in Boyle was ultimately still subject to suit under the Federal Tort Claims Act, and the state’s
26        underlying tort law still applied. The Court did not hold that any government interest in reducing taxpayer
          costs or ensuring the availability of defense contractors preempted state tort law.



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 1
     can both comply with federal, state, and local law, as the contract requires, while making a
 2
     return. None of these hypothetical outcomes, however, would necessarily conflict with the
 3
     government’s interest in safely housing immigrant detainees.
 4
                The NWDC contract explicitly contemplates legal and regulatory “constraints” and
 5

 6   the possibility that they may change over time. Requiring GEO to absorb these costs and

 7   perform under its contract in no way “stands as an obstacle to the accomplishment and

 8   execution of the full purposes and objectives of Congress.” Hillsborough Cnty., 471 U.S. at

 9   713. Consequently, the MWA is not conflict-preempted.
10   C.         PLAINTIFF HAS STATED A PLAUSIBLE CLAIM FOR RELIEF AGAINST
                DEFENDANT UNDER THE WASHINGTON MINIMUM WAGE ACT.
11

12              Washington has a “long and proud history of being a pioneer in the protection of

13   employee rights.” Drinkwitz v. Alliant Techsystems, Inc., 996 P.2d 582, 586 (Wash. 2000).

14   For example, in 1913—25 years before Congress passed the Fair Labor Standards Act

15   establishing the federal minimum wage—the people of Washington enacted a law prohibiting
16   the employ of workers “at wages which are not adequate for their maintenance.” Id. at 586-
17   87 (quoting Laws of 1913, ch. 174, § 2, amended by Laws of 1973, 2d Ex. Sess., ch. 16, § 3
18
     (codified at RCW 49.12.020)). The Washington legislature later enacted the Minimum Wage
19
     Act (“MWA”),11 whose general purpose was to “establish[ ] a minimum standard for wages,
20
     hours, and working conditions of all employees in this state, unless exempted herefrom….”
21
     Wash. Sess. Laws, Ch. 294, § 12 (1959) (emphasis added). Mr. Chen now seeks relief for
22
     himself and the putative class he wishes to represent for the subminimum wages paid by
23
     GEO in violation of the MWA.
24
     11
25         When the MWA was enacted in 1959, the state minimum wage was $1 an hour. Alan Stein, Washington
          Minimum Wage and Hour Act goes into effect on June 11, 1959, Historylink.org (Nov. 26, 2013),
26        http://www.historylink.org/File/10657 (last visited Oct. 30, 2017). This means that the average worker from
          roughly 60 years ago earned more than present-day civil detainees at NWDC.



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 1               1.       The express terms of the MWA confer coverage to the putative class.

 2               The MWA states in pertinent part that an “employee” is “any individual employed by
 3   an employer...” RCW 49.46.010(3). “An ‘[e]mployer’ is any individual or entity ‘acting
 4   directly or indirectly in the interest of an employer in relation to an employee.’” Anfinson v.
 5
     FedEx Ground Package Sys., 281 P.3d 289, 297 (Wash. 2012) (quoting RCW 49.46.010(4)).
 6
     And “’[e]mploy’ includes to permit work.” Id. (quoting RCW 49.46.010(2)). The
 7
     Washington Supreme Court has held that “[t]aken together, these statutes establish that,
 8
     under the MWA, an employee includes any individual permitted to work by an employer.
 9
     This is a broad definition.” Id. (emphasis added).
10
                 Thus, under the MWA’s express terms, Mr. Chen was an “employee” in the “employ”
11

12   of GEO as his “employer” when it “permitted” him to work at the NWDC.

13               This is the proper reading of the MWA under the controlling Washington rules of

14   statutory construction. Hannan v. City of Tacoma, 05-CV-5396-RJB, 2006 WL 2128683, at

15   *5 (W.D. Wash. July 27, 2006) (“Federal courts apply state rules of statutory construction
16   when interpreting a state statutory provision.”). To start, the Court must analyze the plain
17   language of the statute. Id. If the statute is unambiguous, the Court’s inquiry about its
18
     meaning must end. Lake v. Woodcreek Homeowners Ass’n, 243 P.3d 1283, 1288 (Wash.
19
     2010). A statute is not rendered ambiguous “merely because different interpretations are
20
     conceivable.” State v. Gonzalez, 226 P.3d 131, 134 (Wash. 2010). Here, the MWA’s
21
     definition of “employee” is clear and unmistakable, with GEO conceding as much by failing
22
     to allege or argue otherwise.12 Under these circumstances, ignoring the plain language of the
23

24
     12
           To determine whether in fact a person is actually an “employee” under the MWA, Washington uses the
25        “economic-dependence test.” Anfinson, 281 P.3d at 299-300. This is a multi-factorial test, each of which
          involve questions of fact that cannot be resolved on Defendant’s 12(b)(6) motion. Id. (listing factors). Even at
26        this early stage in the litigation, however, it is clear that many aspects of the economic dependence test are
          met—for instance, GEO exercises a high degree of control over the detainees’ labor; GEO determines the rate



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     statute would circumvent its meaning and the will of the legislature. See Lynch v. State, 145
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     P.2d 265, 271 (Wash. 1944) (Grady, J., dissenting) (“When the meaning of a law is evident,
 3
     to go elsewhere in search of conjecture in order to restrict or extend the act would be an
 4
     attempt to elude it, a method which, if once admitted, would be exceedingly dangerous, for
 5

 6   there would be no law, however definite and precise in its language, which might not by

 7   interpretation be rendered useless.”) (quoting 25 R.C.L. 957).

 8               Second, Washington affords the MWA “liberal construction” because it is “remedial

 9   legislation.” Anfinson, 281 P.3d at 299. “A liberal construction … is one that favors
10   classification as an employee.” Id. In this case, liberal construction of the MWA augurs in
11   favor of coverage for Plaintiff as an “employee.”
12
                 Finally, in the context of the MWA, “exemptions from coverage are narrowly
13
     construed and applied only to situations which are plainly and unmistakably consistent with
14
     the terms and spirit of the legislation.” Id (internal quotations omitted). Under the MWA, the
15
     definition of “employee” includes an exhaustive list of exemptions, but none apply to civil
16
     immigration detainees held by private, for-profit corporations like GEO.13 As such, the Court
17
     must not read an exemption into the MWA for the Corporation where the legislature has not
18

19   provided a specific exclusion. See Wash. Natural Gas Co., 459 P.2d at 636.

20

21

22        of pay detainees cannot exercise entrepreneurial skill or initiative; and GEO relies upon the detainees as an
          integral part its business in that they provide the basic labor necessary to operate and maintain the NWDC.
     13
23         Defendant briefly discusses RCW 49.46.010(3)(k), which excludes from MWA coverage “[a]ny resident,
          inmate, or patient of a state, county, or municipal correctional, detention, treatment or rehabilitative
24        institution,” but wisely does not argue for its application here because NWDC, as a federally contracted,
          privately owned facility, clearly does not fall within the ambit of the exemption. See Wash. Natural Gas Co. v.
25        Public Util. Dist. No. 1, 459 P.2d 633, 636 (Wash. 1969) (“Where a statute specifically designates the things
          or classes of things upon which it operates, an inference arises in law that all things or classes of things
26        omitted from it were intentionally omitted by the legislature under the maxim expressio unius est exclusio
          alterius–specific inclusions exclude implication.”).



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 1
                The Court’s inquiry may end here, as Plaintiff has alleged facts sufficient to state a
 2
     plausible claim for relief under the express terms of the MWA.
 3
                2.       Plaintiff does not seek relief under FLSA, but under Ninth Circuit
 4                       precedent interpreting the Act, he is not precluded from doing so.
 5               GEO urges the Court to disregard the plain language of the MWA and Washington’s
 6
     rules of construction favoring coverage for workers in favor of dubious federal authority
 7
     interpreting the Fair Labor Standards Act (“FLSA”) to hold otherwise. While the MWA and
 8
     FLSA may be read in pari materia, they are “not identical” and Washington courts are “not
 9
     bound by [federal authority interpreting the FLSA].” Drinkwitz, 140 Wash.2d at 298
10
     (emphasis added). “FLSA is intended to be a ‘floor’ below which employers may not drop,”
11
     but “[i]t is not a ‘ceiling’ on benefits or terms and conditions of employment.” Id. Thus,
12

13   federal authority is not necessarily probative of coverage under state law. This is especially

14   true here as GEO seeks to sway the Court with non-binding FLSA-based authority from

15   outside jurisdictions, while ignoring Ninth Circuit law that unquestionably recognizes a cause

16   of action for detainees seeking wage damages under FLSA.14
17              The Ninth Circuit has previously held that FLSA contains no categorical exclusion
18   for inmate labor. Hale v. State of Ariz., 993 F.2d 1387, 1393 (9th Cir. 1993) (“[W]e we
19
     cannot agree that the FLSA categorically excludes all labor of any inmate.”); see Watson v.
20
     Graves, 909 F.2d 1549 (5th Cir. 1990) (finding FLSA coverage for prisoners performing
21
     work for third-party); Carter v. Dutchess Cmty. College, 735 F.2d 8, 12 (2d Cir. 1984)
22
     (same); see also Vanskike v. Peters, 974 F.2d 806, 808 (7th Cir. 1992) (“We do not question
23
     the conclusions of Carter, Watson and Hale that prisoners are not categorically excluded
24

25   14
          Plaintiff asserts a claim for damages under the MWA and neither relies upon nor alleges coverage under the
26        FLSA. Plaintiff analyzes FLSA here, not as persuasive authority for interpreting the MWA, but to
          demonstrate that GEO’s interpretation of FLSA itself is erroneous.



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     from the FLSA’s coverage simply because they are prisoners.”). This is in recognition of the
 2
     “’striking breadth’ of the FLSA’s definition of ‘employee,’” and the Supreme Court’s
 3
     pronouncement “that that term reaches some parties who may not traditionally be thought of
 4
     as employees at all.”15 Hale v. State of Ariz., 967 F.2d 1356, 1362–63 (9th Cir. 1992), on
 5

 6   reh’g, 993 F.2d 1387 (9th Cir. 1993).

 7               In Hale, the leading Ninth Circuit case on FLSA and inmate labor, the court held that

 8   certain Arizona state prisoners were not “employees” under FLSA, but left open the

 9   possibility of coverage under different factual circumstances. 993 F.2d at 1389-90. The
10   prisoners in Hale were held in a state-run facility and required by law to perform “hard
11   labor” as part of their prison term. Id. The court held that the usual standard for determining
12
     “employee” status—the economic reality test described in Bonnette v. Cal. Health & Welfare
13
     Agency, 704 F.2d 1465 (9th Cir. 1983)—was inapplicable “in the case of prisoners who work
14
     for a prison-structured [labor] program because they have to.” Hale, 993 F.2d at 1394. Under
15
     those circumstance, the court held, “the economic reality of the relationship between the
16
     worker and the entity for which work was performed lies in the relationship between prison
17
     and prisoner. It is penological, not pecuniary.” Id. at 1395. In other words, “the economic
18

19   reality is that [prisoner] labor belong[s] to the institution.” Id.

20               The Ninth Circuit later held that “an inmate’s legal obligation to work” is the “one

21   factor that triggers application of the Hale rule,” diverging from the standard “economic

22   reality” test. Castle v. Eurofresh, Inc., 731 F.3d 901, 908 (9th Cir. 2013) (emphasis in
23
     15
24         For example, the Ninth Circuit has held that a prisoner working in a prison library can be an employee of the
          prison under Title VII. Baker v. McNeil Island Corr. Ctr., 859 F.2d 124, 128 (9th Cir. 1988) (reversing
25        dismissal, finding prisoner had stated plausible claim under Title VII); see Hale, 967 F.2d at 1363 (“Although
          the FLSA and Title VII are different statutes, cases construing the definitional provisions of Title VII are
26        persuasive authorities when interpreting the FLSA or the ADEA because the definition of ’employee’ in the
          three Acts is virtually identical.”) (omitting internal quotations).



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 1
     original); see Coupar v. U.S. Dep’t of Labor, 105 F.3d 1263, 1265 (9th Cir. 1997) (holding
 2
     that an inmate’s obligation to work pursuant to a prison work program “brings him within the
 3
     rule of Hale.”). Thus, absent a “legal obligation to work” in a purely “penological” setting
 4
     the economic reality test still applies even in a prisoner/detainee context.16
 5

 6               These principles came together in favor of FLSA coverage in Gonzales v. Mayberg,

 7   CV-07-6248 CBM MLG, 2009 WL 2382686, at *4 (C.D. Cal. July 31, 2009), aff’d sub nom.

 8   Gonzalez v. Mayberg, 398 Fed. Appx. 318 (9th Cir. 2010). In Gonzales, the plaintiff had

 9   been committed to a state run facility as a Sexually Violent Predator where he performed
10   work in the facility’s dining room for subminimum wages. Id. at *1. Analyzing Hale, the
11   court found that the plaintiff had stated a plausible claim under FLSA for wages owed
12
     because his confinement was civil in nature and because the work he performed was not
13
     required. Id. at *3-4. The court ultimately dismissed the plaintiff’s FLSA claim, however,
14
     because it found no express sovereign immunity waiver permitting his claims to proceed
15
     against state actors. Id. at *5.
16
                 Here, Plaintiff has stated a plausible claim under FLSA as an “employee.” First, the
17
     putative class consists of civil immigration detainees only, so there is no “penological” aspect
18

19   to their detention.17 Hydrick v. Hunter, 500 F.3d 978, 989 (9th Cir.2007) (“[C]ivilly detained

20   persons must be afforded more considerate treatment and conditions of confinement than

21   criminals whose confinement are designed to punish.”); see Fong Yue Ting v. United States,

22   149 U.S. 698, 730 (U.S. 1893) (“The order of deportation is not a punishment for crime.”);
23   16
            “Penological” means to relating to “penal institutions, crime prevention, and the punishment and
          rehabilitation of criminals, include[ing] the art of fitting the right treatment to an offender.” Black’s Law
24        Dictionary 1170 (8th ed. 2004).
     17
25         In discovery or by way of admission, Plaintiff would show that NWDC serves civil, non-penal and non-
          punitive functions. See James Black, Tacoma Immigration Detention Center is Misunderstood (Apt. 15,
26        2017, 1:30 p.m.), http://www.thenewstribune.com/opinion/article144642549.html (last visited Oct. 30, 2017)
          (Op-ed authored by GEO Group regional vice president).



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 1
     Petition of Brooks, 5 F.2d 238, 239 (D. Mass. 1925) (same). Second, GEO itself contends
 2
     that the detainees have no legal obligation to work, and the work they perform is voluntary in
 3
     nature. Mot. at 8 (“[D]etainees shall be provided the opportunity to participate in a voluntary
 4
     work program.”). Finally, because the detainees are not required to work, the labor they
 5

 6   perform and the money they earn belongs to them. See Watson, 909 F.2d at 1556 (finding

 7   inmates to be “employees” under FLSA because they were not required to work as part of

 8   their sentences and because the labor they performed for a third party did not “belong” to the

 9   jail); see also Dutchess Cmty. College, 735 F.2d at 13–14 (prisoner working as a teaching
10   assistant at community college which paid him wages directly could be FLSA “employee”).
11   Detainees use the money they earn to pay legal fees, support their families outside of
12
     NWDC, and buy items to improve their standard of living and general well-being within the
13
     detention facility.
14
             Contrary to GEO’s claims, construing the MWA and FLSA to include detainee labor
15
     is consistent with the purpose of both laws. Providing a minimum standard of living is
16
     certainly one purpose of the laws, but another equally important purpose is to eliminate
17
     unfair competition between employers and workers seeking employment. See 29 U.S.C. §
18

19   202(a)(3). The legislators understood that allowing any single employer to pay its workers

20   below the minimum wage has the tendency to depress the wages or threaten the standard of

21   living of other workers in the relevant labor market. Here, rather than hire workers from the

22   local labor market into strong—likely union—jobs, GEO has relied on detainee labor to
23   operate and maintain NWDC for a fraction of the cost. Certainly the lawmakers did not
24   intend for for-profit detention centers to escape the true costs of operation by relying on
25
     detainee labor, profiting handsomely along the way. Moreover, because the detainees have
26
     less bargaining power than workers outside NWDC by virtue of their detention, laws like the


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 1
     MWA and FLSA must be enforced to prevent the harms caused by substandard wages to the
 2
     individual detainees and workers beyond the NWDC. See Brooklyn Sav. Bank v. O’Neil, 324
 3
     U.S. 697, 706–07 (1945) (“[D]ue to the unequal bargaining power as between employer and
 4
     employee, certain segments of the population required federal compulsory legislation to
 5

 6   prevent private contracts on their part which endangered national health and efficiency and as

 7   a result the free movement of goods in interstate commerce.”)

 8          In sum, under binding and instructive Ninth Circuit precedent, Mr. Chen states a

 9   plausible claim as an “employee” under FLSA, and by analogy, the MWA.

10          3.      Defendant relies upon inapposite case law from outside jurisdictions that
                    is easily distinguished from the case at bar.
11
            The flaws in GEO’s argument become apparent through the prism of Ninth Circuit
12

13   case law. GEO first directs the Court to the Fifth Circuit’s opinion in Alvarado Guevara v.

14   I.N.S., 902 F.2d 394, 396 (5th Cir. 1990), and while analyzing FLSA-specific questions about

15   detainee labor engaged in commerce, Alvarado turned on policy concerns rooted in the

16   distinct characteristics of government employment, which status the detainees there sought.
17   Id. at 396, n.2. Here, Mr. Chen alleges employment not by the government but by a private
18   for-profit corporation. Moreover, Alvarado relied upon FLSA definitions and congressional
19
     intent, id. at 396, both of which are immaterial to the instant case brought under the MWA.
20
     Alvarado also presented a cribbed view of FLSA’s purpose in that it did not analyze the
21
     Act’s other aim in eliminating unfair competition.
22
            Likewise, GEO cites the Menocal case and others for the proposition that civil
23
     immigration detainees do not require a minimum wage because NWDC already provides for
24
     their basic necessities. Mot. at 20 (citing Menocal v. GEO Grp., Inc., 113 F. Supp. 3d 1125
25
26   (D. Colo. 2015)). But whether GEO met Mr. Chen’s and other detainees’ basic needs is a

     (disputed) question of fact not suitable for disposition on a Rule 12(b)(6) motion. For

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 1
     example, in Gamble v. Minn. State-Operated Servs., CV 16-2720 (JRT/KMM), 2017 WL
 2
     4325702, at *3 (D. Minn. Sept. 28, 2017), the court found the plaintiffs—civil detainees in a
 3
     state-run facility for sex offenders—had stated a plausible FLSA claim for failure to pay the
 4
     statutory minimum wage when they participated in a voluntary work program and claimed
 5

 6   that the state did not meet all of their basic needs. In Gamble, the plaintiffs were required to

 7   provide their own work clothing, shoes, medical care, medical supplies and devices, among

 8   other things, and to repay the state for the cost of their care. Id. Similarly, the detainees at the

 9   NWDC must pay for various items such as more and better food, personal hygiene items, and
10   medical supplies and devices. While no Washington court has ever conditioned application
11   of the MWA on a showing of “need,” to the extent the Court considers it, the record requires
12
     factual development.
13
            GEO also urges the court to consider Whyte v. Suffolk Cnty. Sheriff’s Dep’t, 91 Mass.
14
     App. Ct. 1124 (2017 WL 2274618) (2017)—an unpublished opinion from an intermediate
15
     court in Massachusetts holding that a civil immigration detainee was not an employee under
16
     the Massachusetts Minimum Fair Wage Law. Mot. at 22. With little analysis, the court found
17
     that civil immigration detainees are akin to criminal inmates by analogizing to Alvarado. Id.
18

19   at *1. The plaintiff did not claim that inmates were employees, id. at *2 n.4, and the court

20   dismissed his action without further analysis. Here, Mr. Chen was not a criminal inmate, and

21   under controlling Ninth Circuit law—not to mention the MWA—the balance of interest tilts

22   in favor of coverage as an employee.
23          Finally, GEO suggests that the MWA cannot apply to civil detainees because the
24   Washington legislature could hardly have imaged that detainees would seek the statutory
25
     minimum wage. But it is just as unlikely that the legislature imagined the rise of for-profit
26
     detention centers relying upon detainees being paid near-slave wages to perform vital


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     functions, to the exclusion of the local labor market. Any adjustment to the law in response to
 2
     these developments is the province of the legislature, not the courts.
 3
                                        V.      CONCLUSION
 4
            Plaintiff’s complaint presents sufficient allegations to demonstrate GEO’s practice of
 5

 6   paying detainees $1 per day to perform vital functions violates the MWA. GEO offers no

 7   persuasive reason for excluding itself and Mr. Chen from the MWA’s protections.

 8   Accordingly, GEO’s Motion to Dismiss Plaintiff’s lawsuit must be denied.

 9
            DATED this 30th day of October, 2017.
10
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                                               s/ Jamal N. Whitehead
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 1                                 CERTIFICATE OF SERVICE

 2
            I hereby certify that on October 30, 2017, I electronically filed the foregoing with the
 3
     Clerk of the Court using the CM/ECF system which will send notification of such filing to
 4
     the following:
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18
            DATED at Seattle, Washington this 30th day of October, 2017.
19
                                                       /s Jamal N. Whitehead
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                                                      Jamal N. Whitehead, WSBA #39818
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